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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

O’NEILL, BRAGG & STAFFIN, P.C.              :
720 Johnsville Boulevard, Ste. 1220         :
Warminster, Pennsylvania 18974,             :
                                            :
GARY L. BRAGG, ESQUIRE                      :
720 Johnsville Boulevard, Ste. 1220         :
Warminster, Pennsylvania 18974,             :
                                            :
                       and                  :
                                            :
ALVIN M. STAFFIN, ESQUIRE                   :
720 Johnsville Boulevard, Ste. 1220         :
Warminster, Pennsylvania 18974,             :
                                            :      CIVIL ACTION
                       Plaintiffs,          :
                                            :
         vs.                                :      Case No. 2:18-cv-02109-HB
                                            :
BANK OF AMERICA                             :
CORPORATION                                 :
c/o Corporation Trust Center                :
1209 Orange Street                          :
Wilmington, Delaware 19801                  :
                                            :
                       and                  :
                                            :
BANK OF AMERICA, N.A.                       :
Legal Order Processing/Christiana IV        :
800 Samoset Drive                           :
Newark, Delaware 19713                      :
                                            :
                    Defendants.             :

                               FIRST AMENDED COMPLAINT

         O’Neill, Bragg & Staffin, P.C. (hereinafter “OBS”), Gary L. Bragg, Esquire (“Bragg”)

and Alvin M. Staffin, Esquire (“Staffin,” or, together with OBS and Bragg, “Plaintiffs”) bring

this action by way of the instant first amended complaint (this “Complaint”) against Bank of




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America Corporation and Bank of America, N.A. (hereinafter collectively the “Bank” and/or

“Defendant”) and by way of the within Complaint alleges as follows:

                                           PARTIES

         1.    OBS is a Pennsylvania Professional Corporation, incorporated on December 15,

1992 in the Commonwealth of Pennsylvania and assigned Pennsylvania entity number 2189690.

         2.    OBS’s principal place of business is located at 720 Johnsville Boulevard, Suite

1220, Warminster, Pennsylvania 18974.

         3.    Bragg is a shareholder in and is the President of Plaintiff OBS, and is a citizen of

the State of Washington, with a residential address at 7423 Better Way Loop SE, Unit #101,

Snoqualmie, WA 98065.

         4.     Staffin, who is commonly called “Mel,” is a shareholder in and is the Vice

President of Plaintiff OBS. Staffin is a citizen of the Commonwealth of Pennsylvania, with a

residential address at 13 Amaryllis Lane, Newtown, Pennsylvania 18940.

         5.    Defendant Bank was incorporated in the State of Delaware on May 27, 2009, and

operates as a foreign business corporation in the Commonwealth of Pennsylvania under entity

number 3884047.

         6.    Defendant’s principal place of business is located at Bank of America Corporate

Center, 100 North Tryon Street, Asheville, North Carolina 28255.

         7.    Defendant was previously incorporated as NationsBank (DE) Corporation,

NationsBank Corporation and BankAmerica Corporation.

                                VENUE AND JURISDICTION

         8.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, as the

parties are citizens of diverse jurisdictions and the amount in controversy exceeds $75,000.



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         9.     Plaintiffs’ principal place of business is located within the Eastern District of

Pennsylvania.    As such, venue is appropriate within the Eastern District of Pennsylvania

pursuant to 28 U.S.C.§ 1391(b)(1).

         10.    Furthermore, one of the key governing agreements in the case at bar, the Deposit

Agreement and Disclosures Effective November 10, 2017 (the “2017 Deposit Agreement”)

between OBS and Defendant, a true and correct copy of which is attached hereto as Exhibit 1,

states that “[a]ny action or proceeding regarding your account or this deposit agreement must be

brought in the state in which the financial center that maintains your account is located. You

submit to the personal jurisdiction of that state.” Ex. 1 p. 70.

         11.    The conflict between the parties arose after the November 10, 2017 effective date

of the 2017 Deposit Agreement.

         12.    Pursuant to the June 3, 2005 letter from Defendant to OBS entitled “Important

updates to your analyzed business accounts,” a true and correct copy of which is attached hereto

as Exhibit 2, OBS’s account at Defendant Bank is “serviced by Escrow Management Customer

Service in Scranton, PA.” Ex. 2 p. 3.

         13.    Therefore, the parties agreed in the 2017 Deposit Agreement to submit the dispute

herein to a court of competent jurisdiction located in the Commonwealth of Pennsylvania.

                                              FACTS

         14.    OBS is a law firm engaged in the provision of sophisticated real estate and

corporate transactional legal services to clients in from its principal place of business in the

Commonwealth of Pennsylvania.

         15.    Bragg and Staffin are the sole remaining founders and principals of OBS.




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         16.   In compliance with the requirements of 240 Pa. Code Rule 1.15 et seq., OBS

maintains an Interest On Lawyer Trust Account (“IOLTA”) master account for the receipt and

management/holding in trust of client funds.

         17.   In order to carry out its obligations of safeguarding, recordkeeping and

notification with respect to client funds and property, Bragg and Staffin, on behalf of OBS,

established an IOLTA account with Defendant’s predecessor-in-interest, Summit Bancorp

(“Summit”). Staffin signed the Escrow Account Control Agreement with Defendant on behalf of

OBS. A true and correct copy of the March 22, 2002 Escrow Account Control Agreement

between OBS and Summit is attached hereto as Exhibit 3.

         18.   In further exercise of its statutory obligations with respect to client funds, Staffin

and Bragg, on behalf of OBS, established numerous IOLTA sub-accounts at Summit, wherein

funds belonging to each of OBS’s clients were segregated for the protection and safety of each

such client’s funds (the “IOLTA Sub-Accounts”).

         19.   The primary purpose of maintaining IOLTA Sub-Accounts was to insulate each

client’s assets from one another.

         20.   Upon information and belief, Summit was acquired by FleetBoston Financial

Corporation (“Fleet”).

         21.   In 2004, upon information and belief, Fleet merged with Defendant Bank.

         22.   In May 2017, OBS established IOLTA Sub-Account number 728 titled IOLTA -

Eagle Funding Midtown Loan (hereinafter, the “Eagle Funding Sub-Account”).

         23.   Eagle Funding is a client of OBS.

         24.   In 2017, Bragg provided legal counsel to Eagle Funding with respect to loan

transactions between Eagle Funding and its borrower, Midtown.



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         25.    Staffin was generally aware of OBS’s relationship with Eagle Funding and of

Bragg’s work on the loan transaction between Eagle Funding and Midtown, but was not directly

involved in that matter.

         26.    The Eagle Funding Sub-Account statement documents an initial transfer of loan

funds from Eagle Funding to Midtown in May 2017, and a second transfer of loan funds in

August 2017.

         27.    On or before December 6, 2017, a computer hacker working on behalf of an entity

called Cochen International Ltd (“Cochen”) gained access to Bragg’s Microsoft Exchange e-mail

account.

         28.    The computer hacker created e-mail correspondence, which appeared to originate

from Bragg’s e-mail address, directed to Staffin.     The e-mail correspondence appeared to

originate from an account bearing Bragg’s name and matching Bragg’s OBS e-mail address, and

contained Bragg’s OBS signature line.

         29.    The correspondence reflected familiarity with and knowledge of the Eagle

Funding loan to Midtown, gleaned from the hacker’s illicit and wholly unauthorized access to

prior e-mails between Bragg and Staffin and Eagle Funding.

         30.    The correspondence was, in actuality, from the Cochen computer hacker.

         31.    A true and correct copy of the December 6, 2017 e-mail correspondence between

the Cochen computer hacker (posing as Bragg) and Staffin is attached hereto as Exhibit 4. It

reads in relevant portion:

         Hacker (as Bragg): Hi Mel – Are you going to be in the office tomorrow? I have wire
                       for $580,000 to send to Midtown Resources for an Eagle Funding loan to
                       them but this is going to Midtown Resources [sic] investment account in
                       Hong Kong. Let me know so i [sic] can forward the wiring instructions to
                       you first [sic] tomorrow, as tomorrow will be an [sic] busy day for me.
                       Thanks. Regards. Gary

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         Staffin:          I am in tomorrow
         Hacker:           Mel – I just received Midtown Resources [sic] investment wiring
                           instructions in Hong Kong see below.
                           Bank Name: Bank of China Hk Ltd
                           Bank Address: 774 Nathan Road Hong Kong
                           Swift: BKCHHKHH
                           Account Name: Cochen International Ltd
                           Account#: 012-692-08439-8.
                           Please transfer from our trust account, they need a swift copy once the
                           wire is sent, email that to me once you take care of this. Thanks in
                           advance. Thanks. Regards.
         Staffin:          From which subaccount?
         Hacker:           From our trust account 49990 51003, sub #728. Thanks.
         Staffin:          No time to do this right now. Will have to be tomorrow.
         Hacker:           Get this done first thing in the morning and email transfers swift copy
                           once completed. Regards.
         Staffin:          Sounds like an order.
         Hacker:           Tomorrow will be an [sic] busy day for me and this needs to be out
                           tomorrow. Appreciate your help.
         Staffin:          Me too

Ex. 4.

         32.        Bragg was in Seattle, Washington at the time of the aforestated rogue emails.

         33.        It was entirely plausible to Staffin that Eagle Funding required a transfer in a

time-sensitive manner and that Bragg was unable to execute the transfer while travelling in

Seattle. See Affidavit of Alvin M. Staffin, Esquire, a true and correct copy of which is attached

hereto as Exhibit 5, at ¶ 12 (“The e-mail contained a variety of references which signaled to me

that the e-mail was sent by Bragg. It addressed me by my nickname, “Mel,” indicated familiarity

with both Eagle Funding and Midtown Resources, recited the IOLTA Sub-Account number

assigned to Eagle Funding, and reflected awareness that Bragg was not in the office and could

not effectuate the transfer himself.”).

         34.        Based upon the sender’s sound and accurate knowledge of the names involved in

the Eagle Funding-Midtown loan transaction and the details of the Eagle Funding Sub-Account,

as well as details such as Staffin’s nickname, Staffin had no reason to question the authenticity of

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the request or its purported sender. See Affidavit of Alvin Mark Staffin, December 27, 2017,

submitted on behalf of Plaintiff in O’Neill, Bragg & Staffin, P.C. v. Cochen International

Limited, High Court of Hong Kong, Special Administrative Region, Court of First Instance, a

true and correct copy of which is attached hereto as Exhibit 6, at ¶ 7.

           35.      Believing that Bragg made the transfer request, at 5:52pm1 on December 6, 2017,

Staffin requested that Defendant transfer $580,000 from the Eagle Funding IOLTA Sub-Account

to the Bank of China account identified in the December 6, 2017 e-mail correspondence. Id. ¶ 8.

A true and correct copy of the December 6, 2017 transfer request is attached hereto as Exhibit 7.

           36.      Very shortly after he requested the transfer of funds, Staffin telephoned Bragg to

discuss the transfer. Ex. 5 ¶ 14; Ex. 6 ¶ 9.

           37.      Bragg informed Staffin that Bragg did not receive a transfer request from Eagle

Funding, and did not send an e-mail instructing Staffin to make any such transfer. Ex. 5 ¶ 15;

Ex. 6 ¶ 9.

           38.      Staffin realized that OBS had been victimized by a computer hacker, and

immediately notified Defendant Bank of the fraud. He spoke with a member of the Banks’ Wire

Transfer team named Jason, who did not furnish his last name. Staffin urgently requested that

the transfer be stopped. Ex. 5 ¶¶ 18-19, 22; Ex. 6 ¶¶ 9, 12.

           39.      Jason informed Staffin that Defendant was powerless to stop the transfer until the

funds were actually sent to and received by the Bank of China. Ex. 5 ¶ 21; Ex. 6 ¶ 12; Ex. 8 p. 1.

           40.      Jason suggested that Staffin request a wire recall from the receiving bank, the

Bank of China, the following morning. Ex. 5 ¶ 21.




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    All times are Eastern Standard Time.


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         41.   The Eagle Funding Sub-Account had a balance at the time of the requested wire

transfer by Staffin of approximately $1,900, which was entirely insufficient to fund the $580,000

transfer request. Ex. 6 ¶ 12.

         42.   In a letter dated December 21, 2017, a true and correct copy of which is attached

hereto as Exhibit 8, Defendant recounted that “Mr. Staffin asked if the funds were available to

cover the outgoing wire. Jason indicated that he didn’t see any indication that the payment was

stopped by the Risk area.” Ex. 8 p. 1.

         43.   Jason indicated to Staffin that he was surprised the transfer request had not been

automatically flagged or terminated by the Risk Department in light of the obvious insufficiency

of funds in the Eagle Funding Sub-Account. Ex. 5 ¶ 20.

         44.   At the same time, Bragg called Defendant’s Check Fraud Claims team and spoke

with a representative named Christian Rios (“Rios”). Ex. 5 ¶ 22; Ex. 8 p. 1.

         45.   Staffin was conferenced into Bragg’s call with Rios. Ex. 5 ¶ 22.

         46.   Rios informed Bragg and Staffin that “he could request the funds back, but the

client would need to check their [sic] account the next day to see if the attempt was successful.

If unsuccessful, the client may call the Money Movement team between 8a- 8p ET.” Ex. 8 p. 1;

see also Ex. 5 ¶ 22.

         47.   Rios also noted that the Eagle Funding Sub-Account held only $2,000. Ex. 5 ¶

22.

         48.   On December 6, 2017, the online report for the Eagle Funding Sub-Account

indicated that the transfer was “processing.” Ex. 6 ¶ 12.

         49.   The wire transfer for the full amount of $580,000 was received by the Bank of

China at 5:00 am on December 7, 2017. Id.



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         50.      Accordingly, on December 7, 2017, the online report for the Eagle Funding Sub-

Account indicated that the wire transfer was completed. Ex. 6 ¶ 12.

         51.      Because the $1,900 balance in the Eagle Funding Sub-Account was insufficient to

fund the $580,000 fraudulent transfer, Defendant, on its own accord, withdrew funds from other

IOLTA Sub-Accounts belonging to Plaintiff’s other clients contrary to the reason and purpose for

structuring segregated IOLTA Sub-Accounts. Id.

         52.      At 6:00am on December 7, 2017, pursuant to instructions from Christian Rios and

from Jason, Staffin began attempting to contact Defendant to initiate a wire recall request from

the Bank of China. Ex. 5 ¶ 24.

         53.      Staffin finally got through to Defendant’s representative at 8:35am. Ex. 5 ¶¶ 23-

24; Ex. 8 p. 1.

         54.      At 8:47am on December 7, 2017, Defendant’s correspondence with Plaintiff

reflects that Defendant initiated a wire recall request. Id.

         55.      Later that morning, Staffin received a call from a member of Defendant’s Fraud

Monitoring team named Tammy, who refused to provide her last name. Ex. 5 ¶ 26.

         56.      During the December 7, 2017 call, Tammy confirmed the wire recall request, and

informed Staffin that he would receive updates on the status of that wire recall request from a

representative assigned to OBS’s “team” named Adam Lewinski. Ex. 5 ¶ 27.

         57.      Lewinski did not contact Staffin for a week, despite Staffin’s numerous calls and

voicemails to Lewinski seeking wire recall status updates and requesting that Defendant shut

down the IOLTA and open a new OBS account because of ongoing security concerns. Ex. 5 ¶¶

28-30.




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         58.    Also on December 7, 2017, Staffin reported the wire fraud to the Federal Bureau

of Investigation’s internet crime telephone hotline. Ex. 6 ¶ 14.

         59.    The Federal Bureau of Investigation (“FBI”) collected documents from Staffin

and initiated a criminal investigation of the fraud. Id.

         60.    On December 7, 2017, the Cochen e-mail hacker again contacted Staffin, while

posing as Bragg. A true and correct copy of which communication is attached hereto as Exhibit

9.

         61.    Staffin was aware that the communication was not from Bragg, but testified that

“in order not to alert the fraudsters that we were already aware of the earlier fraud to prevent

dissipation of the monies, I appeared to be co-operative to the request.” Ex. 6 ¶ 10.

         62.    Therein, the Cochen e-mail hacker wrote:

         Hacker (as Bragg): Hi Mel – Are you in the office? Thanks. Regards. Gary
         Staffin:      yes
         Hacker:       Mel – Can you please share how much we have in trust account 49990
                       51003 as of today after the last wire to Midtown Resources. Thanks.
                       Regards, Gary
         Staffin:      I’ll call you
         Hacker:       Mel – Okay can you call me after 1:30 pm.
                       Please I hope this is not stressful for you, Can you please wire $980,000 to
                       Midtown Resources for investment account.
                       Can you get this out today? I would appreciate your effort on this.
                       Thanks. Regards, Gary
Ex. 9.

         63.    No further contact from the e-mail hacker was received. Ex. 6 ¶ 10.

         64.     On December 8, 2017, Bragg electronically transmitted a letter to Brian

Moynihan, President and Chief Executive Officer of Defendant, documenting the wire fraud and

requesting restoration of the $580,000 withdrawn from many of the IOLTA Sub-Accounts.

Defendant’s Wire Transfer and Escrow Management departments were copied on the December



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8, 2017 letter. A true and correct copy of Plaintiff’s December 8, 2017 letter to Defendant is

attached hereto as Exhibit 10.

         65.    Shockingly, also on December 8, 2017, Defendant’s Escrow Department called

OBS to report that the Eagle Funding Sub-Account was overdrawn. Ex. 10 p. 2.

         66.    Of course, the overdraft was not reflective of the fact that the Bank funded the

overdraft with other IOLTA Sub-Account monies; furthermore, the overdraft should have been

evident to Defendant when the transfer request was initially made at 5:52pm on December 6,

2017. Ex. 7.

         67.    According to Defendant’s agent and Wire Operations team member Jason, the

overdraft should have been evident to Defendant’s Risk Department, which failed to stop or even

flag the transfer. See Ex. 5 ¶ 20 (“Jason indicated surprise that the $580,000 transfer was not

automatically flagged or stopped by the Bank’s Risk Area because the Eagle Funding IOLTA

Sub-Account held less than $2,000.”); Ex. 8 p. 1 (“Jason indicated that he didn’t see any

indication that the payment was stopped by the Risk area.”).

         68.    Finally, the overdraft was clearly evident upon Plaintiffs’ call to Defendant’s

Check Fraud and Wire Operations teams on December 6, 2017. Ex. 5 ¶ 22 (“Rios also noted that

the balance in the Eagle Funding IOLTA Sub-Account was less than $2,000.”); Ex. 8 p. 1.

         69.    On December 8, 2017, according to defendant’s correspondence, Swift received

the following response from the Bank of China with respect to the wire recall request:

         WE COULD ONLY ARRANGE THE REFUND PURSUANT TO A HONG
         KONG COURT ORDER BINDING ON US AND WHEN THERE IS
         SUFFICIENT CREDIT BALANCE IN THE CUSTOMER’S ACCOUNT AT
         THE MATERIAL TIME. WE SUGGEST YOU TO REPORT THE CASE TO
         AND SEEK ASSISTANCE FROM THE HONG KONG POLICE FORCE.

Ex. 8 p. 2 (allcaps in original).



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          70.    On December 10, 2017, upon the suggestion of the FBI and in light of the Bank of

China’s response to Staffin’s transfer recall request, Bragg filed a cyber crime report with the

Hong Kong police. Ex. 6 ¶ 15.

          71.    The case was referred for investigation to District Investigation Team 5 of Wong

Tai Sin Police Station. A true and correct copy of the cyber crime report and accompanying

correspondence from District Investigation Team 5 of Wong Tai Sin Police Station is attached

hereto as Exhibit 11.

          72.    Also on December 10, 2017, Bragg electronically transmitted a letter to the Bank

of China’s Fraud department, documenting the wire fraud and requesting a freeze upon the

account(s) of the recipient of the fraudulent transfer, Cochen International. A true a correct copy

of Plaintiff’s December 10, 2017 letter to the Bank of China is attached hereto as Exhibit 12.

          73.    The Bank of China responded by e-mail dated December 18, 2017, a true and

correct copy of which is attached hereto as Exhibit 13, stating in relevant portion:

          We would like to explain that under normal circumstances, incoming remittance
          [sic] will be processed according to the instruction given by the remitting bank
          and subject to our bank’s normal practice; the remitting bank may cancel the
          instruction provided that the transfer is not yet processed by the receiving bank.
          We learnt that you have reported it to the Hong Kong law enforcement
          authorities, we will give our full cooperation when we receive instructions from
          the Hong Kong law enforcement authorities.

Ex. 13.

          74.    In other words, according to the Bank of China, it was Defendant Bank’s

responsibility as remitting bank to cancel the instruction/wire transfer.

          75.    On December 20, 2017, Plaintiffs retained the law firm of Tanner DeWitt

Solicitors in Hong Kong (“TDS”), in an attempt to recover the $580,000 in stolen funds.




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            76.      On December 27, 2017, TDS appeared before the High Court of the Hong Kong

Special Administrative Region on behalf of Plaintiffs and submitted the Affidavit of Alvin Mark

Staffin. See Ex. 6.

            77.      On December 28, 2017, the High Court of the Hong Kong Special Administrative

Region entered an Order, a true and correct copy of which is attached hereto as Exhibit 14a,

freezing Cochen’s accounts at the Bank of China which at that time contained $23,497.32.2 Ex.

14a. The Order also required further disclosure of transactions in Cochen’s accounts by January

5, 2018, which resulted in the garnishment from Cochen and transfer to TDS of $83,509.21. Id.

After deduction of TDS’s fees and costs, the sum recovered from Cochen is $58,730.11.

            78.      TDS also brought suit against two third-level recipients of the fraudulently

transferred funds from Cochen, YKY Limited (“YKY”) and Extrade Electronic (HK) Limited

(“Extrade”). Final judgment was ultimately entered against YKY in the amount of $21,130

(including $7,130 in costs), a true and correct copy of which final judgment is attached hereto as

Exhibit 14b, but garnishment proceedings remain ongoing. Final judgment was ultimately

entered against Extrade in the amount of $35,130 (including $7,130 in costs), a true and correct

copy of which final judgment is attached hereto as Exhibit 14c, but garnishment proceedings

remain ongoing.

            79.      Meanwhile, by letter dated December 12, 2017 (and received December 14,

2017), Defendant informed OBS in writing of the overdraft on its IOLTA. A true and correct

copy of Defendant’s December 12, 2017 correspondence with OBS is attached hereto as Exhibit

15.




2
    All sums are listed in U.S. dollars.


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         80.       Bragg and Staffin, on behalf of OBS, engaged in a variety of immediate actions to

mitigate and rectify damage to their IOLTA and to client-specific IOLTA Sub-Accounts caused

by the computer hack and wire fraud, including the following:

                a. In order to prevent OBS’s clients from suffering any losses as a result of the wire

                   fraud, Bragg and Staffin personally restored all sub-accounts of the IOLTA in full

                   from their personal funds.

                b. Staffin sought to close the IOLTA by repeatedly contacting Adam Lewinski, the

                   Bank’s designated Wire Fraud team member, on December 7, 2017 and

                   thereafter. However, Lewinski did not respond until December 19, 2017 and

                   informed OBS that the Bank was not handling new IOLTA accounts and could

                   not accommodate OBS’s demand that the existing IOLTA account be closed

                   immediately without a written instruction, which Staffin provided.

           c.      On the night of December 6, 2017, immediately upon discovering the hacking,

                   OBS contacted its information technology consultant            who changed Bragg’s

                   password on his Microsoft Exchange e-mail account.               Bragg changed the

                   passwords on his OBS and personal internet-enabled computers. OBS also took

                   other internal security steps.

           d.      OBS established new IOLTA accounts for each client at Citizens Bank of

                   Pennsylvania, where client funds over $2,000 are not in sub-accounts, but rather

                   in completely separate accounts. Client funds under $2,000 are comingled with

                   distinct account ledgers.

                e. OBS established a new wire transfer protocol, requiring all transfers to be

                   confirmed telephonically prior to entry of a transfer order.



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         81.     By letter dated January 12, 2018, a true and correct copy of which is attached

hereto as Exhibit 16, Ms. Morgan responded: “The information provided was satisfactory and

this matter is closed. Be assured this has not been treated as a disciplinary matter and no

disciplinary file has been opened against O’Neill, Bragg and Staffin.”

         82.     Bragg and Staffin also caused OBS to close the Defendant Bank’s IOLTA and all

associated IOLTA Sub-Accounts, including the Eagle Funding Sub-Account, by letter to

Defendant dated December 19, 2017. A true and correct copy of OBS’s December 19, 2017

letter to Defendant is attached hereto as Exhibit 17. See also Ex. 5 ¶ 31.

         83.     On February 28, 2018, in response to OBS’s December 19, 2017 written request

to close the IOLTA and all sub-accounts, Defendant informed OBS in writing that “In April, the

Escrow Management Service will be removed from your Full Analysis Business Checking

ending in 51003.” A true and correct copy of Defendant’s February 28, 2018 communication to

OBS is attached hereto as Exhibit 18.

         84.     The February 28, 2018 communication, which OBS received on March 5, 2018,

states that “the account referenced above is currently set up with the Escrow Management

Service based on the terms of the Deposit Agreement and Treasury Services Agreement – Escrow

Management Service Addendum.” Ex. 20 p. 1 (italics in original). It also states that OBS’s

“agreement with the Bank [is] outlined in the Deposit Agreement and Disclosures . . .” Id.

(italics in original).

         85.     Plaintiffs were never provided with the Deposit Agreement and Treasury Services

Agreement – Escrow Management Service Addendum.

         86.     Therefore, on March 6, 2018, one day after receiving the February 28, 2018

communication from Defendant, Staffin e-mailed the Liquidity Team Contact, to whom the



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February 28, 2018 communication directed all questions. See Ex. 18 p. 1. A true and correct

copy of Staffin’s March 6, 2018 e-mail correspondence with Defendant’s Liquidity Team

Contact is attached hereto as Exhibit 19.

         87.    Therein, Staffin wrote: “Please e-mail to me the ‘Deposit Agreement and

Treasury Services Agreement - Escrow Management Service Addendum’ referenced in your

letter.” Ex. 19.

         88.    Later that day, Defendant’s Liquidity Team responded: “We have receive [sic]

your inquiry. We noticed that your account is in [sic] already in a close [sic] status and that is

[sic] letter should not have been mailed to you. We apologize for any inconvenience this may

have caused.” Id.

         89.    Defendant’s Liquidity Team has never provided) the Deposit Agreement and

Treasury Services Agreement – Escrow Management Service Addendum that Staffin requested,

which Defendant Bank purports to govern the closed IOLTA and its IOLTA Sub-Accounts.

         90.    The Deposit Agreement and Disclosures referenced in Defendant’s February 28,

2018 communication was also not provided to OBS, but is readily available online. It contains

the following relevant provisions:

         Overdrafts and Declined or Returned Items
         When we determine that you do not have enough funds in your account to cover a
         check or other item, then we consider the check or other item an insufficient funds
         item. . . we either authorize and pay the insufficient funds item and overdraw your
         account (an overdraft item) or we decline or return the insufficient funds item
         without payment (a returned item).
         We pay overdrafts at our discretion, which means that we do not guarantee that
         we will always, or ever, authorize and pay them. . .

Ex. 1 p. 17.




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         Business Accounts – Overdraft Practices and Settings
         We automatically apply our standard business overdraft setting to business
         accounts. With our standard business overdraft setting, we may occasionally
         authorize and pay overdrafts for all types of transactions. . .

Id. p. 19.

         What Are Problems and Unauthorized Transactions
         Problems and unauthorized transactions include suspected fraud; missing
         deposits; unauthorized electronic transfers . . .

Id. p. 42.

         We Are Not Liable If You Fail To Report Promptly
         Except as otherwise expressly reported elsewhere in this agreement, if you fail to
         notify us in writing of suspected problems or unauthorized transactions within 60
         days after we make your statement or items available to you, you agree that:
          you may not make a claim against us relating to the unreported problems or
             unauthorized transactions, regardless of the care or lack of care we may have
             exercised in handling your account; and
          you may not bring any legal proceeding or action against us to recover any
             amount alleged to have been improperly paid out of your account.

Id. p. 43.

         Written Confirmation and Other Assistance
         . . . If you assert a claim regarding a problem, you must cooperate with us in the
         investigation and prosecution of your claim and any attempt to recover funds.
         You also agree to assist us in identifying and in seeking criminal and civil
         penalties against the person responsible. You must file reports and complaints
         with appropriate law enforcement authorities. . .

Id.

         Our Investigation and Maximum Liability
         . . . Our maximum liability is the lesser of your actual damages proved or the
         amount of the missing deposit . . .

Id.

         Placing A Stop Payment Order We may accept a written or oral stop payment
         order from any person who has a right to withdraw funds from the account . . .
         If we pay an item subject to a valid and timely stop payment order, we may be
         liable to you if you had a legal right to stop payment and you establish that you
         suffered a loss because of the payment. Our liability, if any, is limited to the
         actual loss suffered, up to the amount of the item. You must prove your loss to

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         our satisfaction. We are not liable to you for any special, incidental or
         consequential loss or damage of any kind.

Id. pp. 54-55 (emphasis supplied).

         Funds Transfer Services
         . . . We provide separate agreements to you that govern the terms of some funds
         transfer services . . .

Id. p. 64.

         91.    Upon information and belief, the “Funds Transfer Services” section of the Deposit

Agreement and Disclosures references the Telephone Wire Transfer Agreement.

         92.    The Telephone Wire Transfer Agreement, a true and correct copy of which is

attached hereto as Exhibit 20, governs wire transfer requests made by telephone, including

Staffin’s December 6, 2017 transfer request. It states in relevant portion:

         Cancellation of Wire Transfer Requests
         . . . If you or a bank sending us a draw request sends us a wire transfer request
         instructing us to cancel or amend a telephone or draw wire transfer request and we
         are able to verify the authenticity of the cancellation or amendment request using
         the Security Procedure, as applicable, we will make a reasonable effort to act on
         that request . . .

Ex. 20 § 4.

         Limitation of Liability
         (a) For wire transfer requests which are subject to Article 4A of the Uniform
             Commercial Code, as adopted in the state whose laws govern this Agreement
             (“Article 4A”), we are liable only for damages required to be paid under
             Article 4A or Subpart B of Regulation J of the Board of Governors of the
             Federal Reserve System, as amended form time to time and as applicable,
             except as otherwise agreed in this Agreement.
                                                 *****
         (c) If we are obligated to pay interest compensation, we will pay such
             compensation or credit your account, as we determine, upon your written
             request . . .
                                                 *****
         (e) We will not be responsible for the acts or omissions of you or your agents . . .

    Id. §§ 6(a), 6(c) & 6(e).



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         93.    The document which created OBS’s original IOLTA account is the March 22,

2002 Escrow Control Account Agreement. It provides, in relevant portion:

         WITHDRAWALS AND TRANSFERS
         . . . If a check is presented to the Bank at a time when there is insufficient balance
         of available funds in the Subaccount, the Bank, in its discretion, may pay the
         check or return the check and, in either event, charge the Depositor a service
         charge. . .

         STOP PAYMENT
         The Depositor may direct the Bank to stop payment of any check, draft or
         direction to transfer funds orally or in writing. An oral direction must be
         confirmed in writing within 14 days. Otherwise it will expire. A written direction
         to stop payment will be effective for 6 months, unless renewed in writing.
                                                *****
         LIABILITY
         The Bank shall not be liable to the Depositor for any loss or expense incurred by
         the Depositor with respect to the Account or this Agreement unless such loss or
         expense is directly attributable to the gross negligence or willful misconduct of
         the Bank. In no event shall the Bank be liable to the Depositor for consequential
         damages.

Ex. 3 §§ 3, 4 & 12 (boldface in original).

         94.    The Uniform Commercial Code has been adopted by the Commonwealth of

Pennsylvania at 13 Pa.C.S. § 1101 et seq.

         95.    Section 4A of the Uniform Commercial Code is codified in the Commonwealth of

Pennsylvania at 13 Pa.C.S. §§ 4A101-4A507, and provides in relevant portion as follows:

         § 4A211. Cancellation and amendment of payment order.

         (a) Communication. – A communication of the sender of a payment order
         canceling or amending the order may be transmitted to the receiving bank orally,
         electronically or in writing. If a security procedure is in effect between the sender
         and the receiving bank, the communication is not effective to cancel or amend the
         order unless the communication is verified pursuant to the security procedure or
         the bank agrees to the cancellation or amendment.

         (b) Communication received before payment order accepted. – Subject to
         subsection (a), a communication by the sender canceling or amending a payment
         order is effective to cancel or amend the order if notice of the communication is
         received at a time and in a manner affording the receiving bank a reasonable

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            opportunity to act on the communication before the bank accepts the payment
            order.

            (c) Communication received after payment order accepted. – After a payment
            order has been accepted, cancellation or amendment of the order is not effective
            unless the receiving bank agrees or a funds-transfer system rule allows
            cancellation or amendment without agreement of the bank:

                   (1) With respect to a payment order accepted by a receiving bank other
                   than the beneficiary’s bank, cancellation or amendment is not effective
                   unless a conforming cancellation or amendment of the payment order
                   issued by the receiving bank is also made.

                   (2) With respect to a payment order accepted by the beneficiary’s bank,
                   cancellation or amendment is not effective unless the order was issued in
                   execution of an unauthorized payment order or because of a mistake by a
                   sender in the funds transfer which resulted in the issuance of a payment
                   order:

                          (i) that is a duplicate of a payment order previously issued by the
                          sender;

                          (ii) that orders payment to a beneficiary not entitled to receive
                          payment from the originator; or

                          (iii) that orders payment in an amount greater than the amount the
                          beneficiary was entitled to receive from the originator.

                   If the payment order is canceled or amended, the beneficiary’s bank is
                   entitled to recover from the beneficiary any amount paid to the beneficiary
                   to the extent allowed by the law governing mistake and restitution.

                                                 *****

            (d) Canceled payment order. – A canceled payment order cannot be accepted. If
            an accepted payment order is canceled, the acceptance is nullified and no person
            has any right or obligation based on the acceptance. Amendment of a payment
            order is deemed to be cancellation of the original order at the time of amendment
            and issue of a new payment order in the amended form at the same time.

13 Pa.C.S. § 4A211.

            96.    Notably, the UCC Section 4A as adopted by the Commonwealth of Pennsylvania

   is specifically superseded by Federal Reserve regulations and operating circulars. See 13 Pa.C.S.



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§ 4A107 (“Regulations of the Board of Governors of the Federal Reserve System and operating

circulars of the Federal Reserve banks supersede any inconsistent provision of this division to the

extent of the inconsistency.”).

         97.    Such a regulation, codified at 12 CFR § 205.17(d)(5) and entitled “Alternative

plans for covering overdrafts,” states as follows:

         If the institution offers a line of credit subject to the Board's Regulation Z (12
         CFR part 226) or a service that transfers funds from another account of the
         consumer held at the institution to cover overdrafts, the institution must state that
         fact. An institution may, but is not required to, list additional alternatives for the
         payment of overdrafts.

12 CFR § 205.17(d)(5).

         98.    It is undisputed that Staffin and Bragg contacted Defendant on December 6, 2017

shortly after the wire transfer confirmation to report that the wire transfer resulted from a fraud

perpetrated against Plaintiffs. Ex. 5 ¶¶ 18-22; Ex. 6 ¶ 12; Ex. 7 p. 1.

         99.    It is also undisputed that Defendant’s agent, Jason, informed Staffin that

Defendant was powerless to stop the fraudulent wire transfer until the funds were actually sent to

and received by the Bank of China. Ex. 5 ¶¶ 20-21; Ex. 6         ¶ 12; Ex. 7 p. 1.

         100.   It is further undisputed that – in complete contravention of the Bank’s stated

policy, per its representative, Jason – the Bank of China’s procedure allows that “the remitting

bank may cancel the instruction provided that the transfer is not yet processed by the receiving

bank.” Ex. 13.

         101.   Upon information and belief, Defendant, by its agent, failed to initiate a

cancellation of wire transfer request pursuant to Section 4 of the Telephone Wire Transfer

Agreement during Staffin’s call to Defendant on December 6, 2017. See Ex. 20 § 4.




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         102.   Such failure is patently unreasonable. The multiple cancellation requests made by

Plaintiffs are effective pursuant to Section 4 of the Escrow Control Account Agreement, which

allows a stop payment direction to be made “orally or in writing.” Ex. 3 § 4.

         103.   On December 6, 2017, the online report for the Eagle Funding Sub-Account

indicated that the transfer was “processing.” Ex. 6 ¶ 12.

         104.   Therefore, prior to final processing of the fraudulent wire transfer request by the

Bank of China, Defendant neglected to cancel the wire transfer, which failure is patently not

reasonable.

         105.   13 Pa.C.S. 4A211(b) provides that “a communication by the sender canceling or

amending a payment order is effective to cancel or amend the order if notice of the

communication is received at a time and in a manner affording the receiving bank a reasonable

opportunity to act on the communication before the bank accepts the payment order.”

         106.   Bragg and Staffin contacted Defendant a second time on December 6, 2017, at

which point Defendant’s agent Rios offered to “request the funds back,” and instructed Bragg

and Staffin to follow up with Defendant’s Money Movement team the following day. Ex. 5 ¶ 22;

Ex. 8 p. 1.

         107.   The wire transfer was listed by Defendant as being received by the Bank of China

at 5:00 am on December 7, 2017. Id.

         108.   Even assuming, arguendo, that the wire transfer was received by the Bank of

China immediately upon Defendant’s confirmation at 5:50pm on December 6, 2017 – which it

was not, as Defendant’s own online recording system demonstrated – the multiple cancellation

requests are effective transfer order cancellations under UCC 4A, as codified at 13 Pa.C.S.

4A211(c)(2)(ii), which provides:



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         “Communication received after payment order accepted. – After a payment order
         has been accepted, cancellation or amendment of the order is not effective unless
         the receiving bank agrees or a funds-transfer system rule allows cancellation or
         amendment without agreement of the bank: . . . With respect to a payment order
         accepted by the beneficiary’s bank, cancellation or amendment is not effective
         unless the order was issued in execution of an unauthorized payment order or
         because of a mistake by a sender in the funds transfer which resulted in the
         issuance of a payment order: . . . (ii) that orders payment to a beneficiary not
         entitled to receive payment from the originator. . .”

(emphasis supplied).

         109.   Cochen was not entitled to receive any funds, wire transfers or payments from

OBS.

         110.   Any authorization provided by Staffin was the good faith mistaken consequence

of an overt fraud perpetrated by Cochen.

         111.   Defendant’s wrongful execution of the wire transfer request was the result of

Cochen’s fraud.

         112.   Defendant’s failure and refusal to terminate the transfer resulted in the payment of

both Eagle Funding and other client IOLTA funds to Cochen, which was not authorized to

receive any such payment from OBS or Eagle Funding.

         113.   Therefore, even if the Bank of China received the fraudulent transfer of funds

prior to Plaintiffs’ calls to the Bank, such transfer was nevertheless effectively cancelled

pursuant to UCC 4A211(c)(2)(ii), as codified by the Commonwealth of Pennsylvania, insofar as

the transfer was caused by a mistake and resulted in payment to a beneficiary not entitled to

receive payment from the originator.

         114.   The Telephone Wire Transfer Agreement between the parties specifically

contemplates the Defendant’s potential liability Under UCC 4A. See Ex. 3 § 12.




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          115.   Regardless of when the cancellation was received by the Bank of China, there is

no dispute that it was timely made on December 6, 2016 immediately upon discovery by

Plaintiffs of the fraud perpetrated against them.

          116.   Under the terms of Defendant’s own contract(s), Defendant Bank is indisputably

liable to Plaintiffs for payment of the wire transfer, as it was subject to a valid and timely stop

payment order. See Ex. 1 p. 55 (“If we pay an item subject to a valid and timely stop payment

order, we may be liable to you if you had a legal right to stop payment and you establish that you

suffered a loss because of the payment. Our liability, if any, is limited to the actual loss suffered,

up to the amount of the item.”).

          117.   Defendant Bank issued an Attorney Trust Account Overdraft Report with respect

to the Eagle Funding Sub-Account, which was received by Plaintiffs on December 14, 2017. See

Ex. 15.

          118.   That overdraft report does not acknowledge or reflect the Bank’s own

impermissible act of sweeping other client IOLTA Sub-Accounts, which Defendant was not

authorized or empowered to do.

          119.   Without authorization from Plaintiffs, and in breach of the terms of Section 3 of

the Escrow Control Account Agreement, Defendant swept these other IOLTA Sub-Accounts of

the IOLTA in order to fund the fraudulent wire transfer to Cochen, which wire transfer Plaintiffs

had validly cancelled pursuant to Section 4 of the Telephone Wire Transfer Agreement.

          120.   Defendant’s act of sweeping other IOLTA Sub-Accounts also violates 12 CFR §

205.17(d)(5), insofar as Defendant Bank never stated to Plaintiffs that it offered such a “service

that transfers funds from another account of the consumer held at the institution to cover

overdrafts . . .” as required by law.



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         121.   Indeed, neither the Escrow Account Control Agreement nor the Deposit

Agreement and Disclosures nor the Telephone Wire Transfer Agreement discloses to Plaintiffs

that Defendant will sweep all IOLTA Sub-Accounts if one client’s sub-account is overdrawn.

See Ex. 1, 3 & 20.

         122.   Plaintiffs’ obvious intent and purpose when setting up IOLTA Sub-Accounts for

each client was to safeguard each client’s funds by insulating the funds of each client from those

of all other clients.

         123.   OBS funded the litigation in Hong Kong against Cochen, and to date has received

$58,730.11 from Cochen, after deduction of litigation costs.

         124.   The litigation in Hong Kong against YKY and Extrade resulted in monetary

awards in OBS’s favor, but no garnishment or receipt of those ill-gotten funds to date. See Ex.

14b-14c.

         125.   The fraudulent transfer of $580,000 from the Eagle Funding Sub-Account was

effected by Defendant Bank’s multiple acts of negligence and unreasonable behavior.

         126.   Defendant’s failure to stop or cancel the fraudulent transfer of $580,000 from the

Eagle Funding Sub-Account at Staffin’s timely request violates the terms of the Telephone Wire

Transfer Agreement.

         127.   Defendant’s failure to stop or cancel the fraudulent transfer of $580,000 from the

Eagle Funding Sub-Account at Staffin’s request violates the terms of the Escrow Control

Account Agreement.

         128.   Defendant’s failure to stop or cancel the fraudulent transfer of $580,000 from the

Eagle Funding Sub-Account at Staffin’s request violates 13 Pa.C.S. 4A211(c)(2)(ii).




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         129.   Plaintiffs have requested that Defendant repay the $580,000 Plaintiffs lost due to

the fraudulent transfer, which sum has not been repaid.

         130.   Defendant’s refusal to repay the $580,000 to Plaintiffs violates the terms of the

Deposit Agreement and Disclosures.

         131.   Defendant’s unauthorized and impermissible act in sweeping the IOLTA Sub-

Accounts of other clients violates Defendant Bank’s essential obligations as the holder of

attorney trust funds.

         132.   Plaintiffs have been injured as a result of Defendant’s negligent, reckless and/or

willful acts and omissions, and as a result of the Defendant Bank’s unreasonable and ultra vires

behavior.

                                            Count I
                          Breach of Escrow Control Account Agreement

         133.   The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         134.   The Escrow Control Account Agreement was executed between OBS and

Defendant’s predecessor-in-interest, Summit, in 2002.

         135.   The Escrow Control Account Agreement was not replaced when Fleet purchased

Summit, or when Defendant merged with Fleet.

         136.   The Escrow Account Control Agreement governed the IOLTA on December 6,

2017.

         137.   Defendant is bound by the terms of the Escrow Account Control Agreement.

         138.   The Escrow Account Control Agreement provides, in relevant portion:

         3. WITHDRAWALS AND TRANSFERS
         . . . If a check is presented to the Bank at a time when there is insufficient balance
         of available funds in the Subaccount, the Bank, in its discretion, may pay the

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         check or return the check and, in either event, charge the Depositor a service
         charge. . .

         4. STOP PAYMENT
         The Depositor may direct the Bank to stop payment of any check, draft or
         direction to transfer funds orally or in writing. An oral direction must be
         confirmed in writing within 14 days. Otherwise it will expire. A written direction
         to stop payment will be effective for 6 months, unless renewed in writing.

Ex. 3 §§ 3-4 (boldface in original).

         139.   In this case, the $580,000 fraudulent transfer order was presented to Defendant

when the Eagle Funding Sub-Account contained only $1,900.

         140.   Under Section 3 of the Escrow Account Control Agreement, the Defendant had

two options – it could either pay the transfer or reject the transfer request. Ex. 3 § 3.

         141.   Instead of selecting one of the two contractually provided and agreed-upon

options in the event of an overdraft, the Defendant unlawfully swept OBS’s clients’ IOLTA Sub-

Accounts.

         142.   In the event of an overdraft in one IOLTA Sub-Account, the Escrow Account

Control Agreement does not permit Defendant to sweep isolated sub-accounts containing the

protected funds of unrelated clients.

         143.   Defendant’s act of sweeping the unrelated IOLTA Sub-Accounts to satisfy the

Eagle Funding Sub-Account overdraft constitutes a breach of the clear terms of Section 3 of the

Escrow Account Control Agreement.

         144.   As a result of Defendant’s breach of Section 3 of the Escrow Account Control

Agreement, on December 18, 2017 Plaintiffs experienced a negative balance in the IOLTA

account, including all of its Sub-Accounts.




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         145.   To rectify the negative balance and protect OBS’s clients, Bragg and Staffin

personally replenished the $580,000 that was impermissibly swept from the IOLTA Sub-

Accounts.

         146.   Section 4 of the Escrow Account Control Agreement sets forth the procedure

whereby a customer may stop payment of a direction to transfer funds. Ex. 3 § 4.

         147.   It specifically provides that such direction may be made “orally or in writing,”

and if oral “must be confirmed in writing within 14 days.” Id.

         148.   The clear implication of Section 4 of the Escrow Account Control Agreement is

that a valid stop payment direction made in compliance with the procedures set forth therein will

be honored by Defendant.

         149.   In this case, Plaintiffs gave multiple stop payment directions on December 6,

2017 to Defendant’s agents, Wire Operations team member Jason and Check Fraud Claims team

member Christian Rios. Ex. 5 ¶¶ 18-22; Ex. 6 ¶ 12; Ex. 8 p. 1.

         150.   At 6:00am on December 7, 2017, Staffin contacted Defendant to initiate a wire

recall request from the Bank of China, which request was actually transmitted by the Bank at

8:37am that day. Ex. 5 ¶¶ 23-25; Ex. 8 p. 1.

         151.   These stop payment and wire recall requests were confirmed in writing on

December 8, 2017 – well within the 14 day period required by Section 4 of the Escrow Account

Control Agreement – by letter from Bragg to Brian Moynihan, President and Chief Executive

Officer of Defendant, Defendant’s Wire Transfer department, and Defendant’s Escrow

Management department. See Ex. 10.

         152.   Although Plaintiffs complied with the requirements of Section 4 of the Escrow

Account Control Agreement, Defendant failed to issue the stop payment order.



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         153.   Defendant’s failure to issue the stop payment request upon Plaintiff’s three valid

oral directives and written confirmation constitutes a violation of Section 4 of the Escrow

Account Control Agreement.

         154.   As a result of Defendant’s breach of Section 4 of the Escrow Account Control

Agreement, the fraudulent transfer request was processed, Cochen wrongfully received

Plaintiffs’ funds, and Bragg and Staffin were compelled to personally replenish $580,000 in

client funds and to expend $20,000 and valuable resources to prosecute a criminal case in Hong

Kong against Cochen.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for breach of the Escrow Account Control Agreement, and

award Plaintiffs damages in an amount to be determined at trial, together with such other relief

as the Court deems just and appropriate.

                                           Count II
                         Breach of Deposit Agreement and Disclosures

         155.   The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         156.   The Deposit Agreement and Disclosures, effective November 2017, governs the

Defendant’s relationship with OBS, according to Defendant’s own communication to Plaintiffs.

See Ex. 18 p. 1.

         157.   The Deposit Agreement and Disclosures contains the following relevant

provisions:

         Overdrafts and Declined or Returned Items
         When we determine that you do not have enough funds in your account to cover a
         check or other item, then we consider the check or other item an insufficient funds
         item. . . we either authorize and pay the insufficient funds item and overdraw your



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         account (an overdraft item) or we decline or return the insufficient funds item
         without payment (a returned item).
         We pay overdrafts at our discretion, which means that we do not guarantee that
         we will always, or ever, authorize and pay them. . .

Ex. 1 p. 17.

         Business Accounts – Overdraft Practices and Settings
         We automatically apply our standard business overdraft setting to business
         accounts. With our standard business overdraft setting, we may occasionally
         authorize and pay overdrafts for all types of transactions. . .

Id. p. 19.

         Placing A Stop Payment Order
         If we pay an item subject to a valid and timely stop payment order, we may be
         liable to you if you had a legal right to stop payment and you establish that you
         suffered a loss because of the payment. Our liability, if any, is limited to the
         actual loss suffered, up to the amount of the item. You must prove your loss to
         our satisfaction. We are not liable to you for any special, incidental or
         consequential loss or damage of any kind.

Id. pp. 54-55 (emphasis supplied).

         158.   In this case, the $580,000 fraudulent transfer order was presented to Defendant

when the Eagle Funding Sub-Account contained only $1,900.

         159.   Under the terms of the Deposit Agreement and Disclosures pertaining to

overdrafts, the Defendant has two options – it can “either authorize and pay the insufficient funds

item and overdraw your account (an overdraft item) or we decline or return the insufficient funds

item without payment (a returned item).” Ex. 1 p. 17.

         160.   Instead of selecting one of the two contractually provided and agreed-upon

options in the event of an overdraft, the Defendant unlawfully swept OBS’s IOLTA Sub-

Accounts.




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         161.   In the event of an overdraft in one IOLTA Sub-Account, the Deposit Agreement

and Disclosures does not permit Defendant to sweep isolated sub-accounts containing the

protected funds of unrelated clients.

         162.   Defendant’s act of sweeping the unrelated IOLTA Sub-Accounts to satisfy the

Eagle Funding Sub-Account overdraft constitutes a breach of the clear terms of the Deposit

Agreement and Disclosures.

         163.   As a result of Defendant’s breach of the Deposit Agreement and Disclosures,

Bragg and Staffin personally replenished the $580,000 that was impermissibly swept from the

IOLTA.

         164.   The Deposit Agreement and Disclosures contemplates wrongful payment of an

item that is subject to a valid and timely stop payment request. Ex. 1 pp. 54-55.

         165.   As discussed supra, Section 4 of the Escrow Control Account Agreement sets

forth the procedure whereby a customer may stop payment of a direction to transfer funds. Ex. 3

§ 4.

         166.   Plaintiffs complied with the requirements of Section 4 of the Escrow Control

Account Agreement when they orally requested that Defendant stop payment of the fraudulent

transfer request on December 6, 2017 (twice) and on December 7, 2017, and when they

confirmed such request in writing on December 8, 2017.

         167.   Nevertheless, Defendant failed to issue the validly and timely requested stop

payment on the fraudulent wire transfer.

         168.   The Deposit Agreement and Disclosures directs that when Defendant fails to issue

a validly and timely requested stop payment, Defendant “may be liable to you if you had a legal




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right to stop payment and you establish that you suffered a loss because of the payment.” Ex. 1

pp. 54-55.

         169.   In this case, Plaintiffs had a legal right to stop payment on the fraudulent wire

transfer because (a) Plaintiffs lawfully controlled the Eagle Funding IOLTA Sub-Account from

which the funds were supposed to originate; (b) the transfer order had resulted from fraud; (c) the

stop payment request was timely made; and (d) the stop payment request complied with the

requirements of Section 4 of the Escrow Control Account Agreement.

         170.   As a result of the Defendant’s failure to honor the valid stop payment order,

Plaintiffs suffered a loss insofar as (a) Bragg and Staffin personally replenished $580,000 into

OBS’ IOLTA, and (b) OBS funded litigation against Cochen in Hong Kong.

         171.   Although Plaintiffs have informed Defendant, by its agents, of their loss, both

orally and in writing, Defendant has refused to acknowledge and honor its liability to Plaintiffs,

in violation of the clear terms of the Deposit Agreement and Disclosures.

         172.   Defendant’s continuing refusal to make Plaintiffs whole has forced Plaintiffs to

bring the instant litigation to seek redress under the Deposit Agreement and Disclosures.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for breach of the Deposit Agreement and Disclosures, and

award Plaintiffs damages in an amount to be determined at trial, together with such other relief

as the Court deems just and appropriate.




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                                           Count III
                          Breach of Telephone Wire Transfer Agreement

         173.    The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         174.    The Telephone Wire Transfer Agreement “sets forth the terms and conditions of

the wire transfer service” offered by Defendant. Ex. 20 p. 1.

         175.    It provides in relevant portion:

         Cancellation of Wire Transfer Requests
         . . . If you or a bank sending us a draw request sends us a wire transfer request
         instructing us to cancel or amend a telephone or draw wire transfer request and we
         are able to verify the authenticity of the cancellation or amendment request using
         the Security Procedure, as applicable, we will make a reasonable effort to act on
         that request . . .

Ex. 20 § 4.

         176.    Thus, Section 4 of the Defendant’s Telephone Wire Transfer Agreement clearly

imposes upon the Defendant the obligation to make a reasonable effort to act on a request to

cancel a wire transfer. Id.

         177.    Appended to the Telephone Wire Transfer Agreement is a “Procedures Guide and

Additional Terms for Wire Transfer Clients.” Section 6 thereof outlines the precise procedures

which must be undertaken to cancel a wire transfer:

         (a)    Cancellation requests must be made directly to the Bank’s Wire Transfer
                Department, using the telephone numbers provided in the Operating Hours
                section of this Procedures Guide.

         (b)    Client’s Authorized Representative must provide to the Bank their [sic] PIN
                and the Transaction Reference Number that was assigned upon the initiation
                of the wire transfer to be cancelled.

         (c)    Upon receipt of a cancellation request, Bank will make a reasonable effort to
                cancel the wire transfer, including contacting the receiving financial
                institution to reverse the wire transfer; however, bank will not be liable if
                the wire transfer is not reversed.

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Ex. 20 p. 6 § 6.

         178.   Pursuant to the Escrow Control Account Agreement, Staffin is an authorized

representative of OBS with respect to the IOLTA and all of its IOLTA Sub-Accounts.

         179.   Staffin initiated the wire transfer cancellation process by calling Defendant and by

speaking with Jason in Defendant’s Wire Transfer department. Ex. 5 ¶¶ 18-21.

         180.   In the course of the above-described call, Staffin provided Jason with the

transaction reference number assigned to the fraudulent wire transfer request. Id.

         181.   Thus, Plaintiffs, by and through Staffin, satisfied their obligations under Section 6

of the Procedures Guide and Additional Terms for Wire Transfer Clients that is contained in the

Telephone Wire Transfer Agreement.

         182.   Defendant Bank, however, did not satisfy its own obligations under Section 6 of

the Procedures Guide and Additional Terms for Wire Transfer Clients that is contained in the

Telephone Wire Transfer Agreement.

         183.   Specifically, Defendant, by and through its agents Christian Rios, Jason, Tammy

and Adam Lewinski, did not make a reasonable effort to cancel the wire transfer.

         184.   None of the Bank’s agents contact the Bank of China or engaged in any other

affirmative act intended to reverse the wire transfer.

         185.   Indeed, none of the Bank’s agents made any effort to cancel the wire transfer.

Instead, Bank Wire Transfer team member Jason informed Plaintiffs that the wire transfer could

not be cancelled at all, and Plaintiffs’ only recourse was to contact the Wire Transfer team the

following morning to request that the transfer be recalled after it was received by the Bank of

China. Ex. 5 ¶¶ 21-22.




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         186.   The information provided to Plaintiffs by the Bank was patently incorrect, and in

fact the opposite was true – according to the Bank of China, the wire transfer could be cancelled

at any point until it was processed by the Bank of China. See Ex. 13 (“the remitting bank may

cancel the instruction provided that the transfer is not yet processed by the receiving bank.”).

         187.   Thus, the Defendant’s direction to Plaintiffs to wait until the wire transfer was

processed by the Bank of China and then request a recall of that transfer was exactly wrong and

contravened Defendant’s own obligations under Section 6 of the Bank’s Procedures Guide and

Additional Terms for Wire Transfer Clients as well as Section 6 of the Telephone Wire Transfer

Agreement.

         188.   As a result of Defendant’s Breach of the Telephone Wire Transfer Agreement,

Plaintiffs have suffered substantial actual damages.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for breach of the Telephone Wire Transfer Agreement, and

award Plaintiffs damages in an amount to be determined at trial, together with such other relief

as the Court deems just and appropriate.

                                            Count IV
                                     [Intentionally omitted]

         189-199.      Intentionally omitted.

                                            Count V
                            Violation of 13 Pa.C.S. § 4A211(c)(2)(ii)

         200.   The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         201.   In the event that 13 Pa.C.S. § 4A211(b) is deemed inapplicable to the instant case

insofar as the fraudulent transfer order is perceived to have been “received” by the Bank of



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China prior to Plaintiffs’ oral stop payment order/transfer cancellation request, 13 Pa.C.S. §

4A211(c)(ii) applies.

         202.   13 Pa.C.S. § 4A211(c)(2)(ii) provides in relevant part:

         Communication received after payment order accepted. – After a payment order
         has been accepted, cancellation or amendment of the order is not effective unless
         the receiving bank agrees or a funds-transfer system rule allows cancellation or
         amendment without agreement of the bank:. . .With respect to a payment order
         accepted by the beneficiary’s bank, cancellation or amendment is not effective
         unless the order was issued in execution of an unauthorized payment order or
         because of a mistake by a sender in the funds transfer which resulted in the
         issuance of a payment order: . . .that orders payment to a beneficiary not entitled
         to receive payment from the originator. . .

13 Pa.C.S. § 4A211(c)(2)(ii) (emphasis supplied).

         203.   Even if the Bank of China received the fraudulent wire transfer prior to Staffin’s

oral cancellation request on December 6, 2017, the cancellation order was nevertheless valid.

         204.   The wire transfer order resulted from “a mistake by a sender in the funds transfer

which resulted in the issuance of a payment order . . . that orders payment to a beneficiary not

entitled to receive payment from the originator.”

         205.   In this case, the mistake was the sender’s assumption that the transfer order was

lawfully and validly made.

         206.   In actuality, the transfer order was made pursuant to criminally fraudulent activity

which cannot be the basis of a valid and lawful wire transfer order.

         207.   In such a case, 13 Pa.C.S. § 4A211(c)(2)(ii) provides that cancellation is effective

even if the cancellation is effected after the payment is received.

         208.   In derogation of the clear requirements of 13 Pa.C.S.                             §

4A211(c)(2)(ii), Defendant has failed and refused to honor Plaintiffs’ valid cancellation of the

fraudulent wire transfer request.



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         209.   As a result of Defendant’s Breach of 13 Pa.C.S. § 4A211(c)(2)(ii), Plaintiffs have

suffered actual damages.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for breach of 13 Pa.C.S. § 4A211(c)(2)(ii), and award

Plaintiffs damages in an amount to be determined at trial, together with such other relief as the

Court deems just and appropriate.

                                             Count VI
                                Violation of 13 Pa.C.S. § 4A211(e)

         210.   The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         211.   13 Pa.C.S. § 4A211(e), which codifies UCC § 4A, sets forth the following

requirement for cancelled payment orders:

          Canceled payment order. – A canceled payment order cannot be accepted. If an
          accepted payment order is canceled, the acceptance is nullified and no person
          has any right or obligation based on the acceptance. Amendment of a payment
          order is deemed to be cancellation of the original order at the time of amendment
          and issue of a new payment order in the amended form at the same time.

13 Pa.C.S. § 4A211(e) (emphasis supplied).

         212.   In this case, Plaintiffs submit that the order was cancelled prior to its receipt by

the Bank of China. However, the timing of the cancellation is irrelevant under 13 Pa.C.S. §

4A211(e), only the fact of valid cancellation is important.

         213.   Under UCC § 4A, as codified at 13 Pa.C.S. § 4A211(e), regardless of whether the

order has been received and accepted, cancellation nullifies the order.

         214.   In this case, Staffin and Bragg cancelled the fraudulent wire transfer order orally

on December 6, 2017. Ex. 5 ¶¶ 19, 22.




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         215.   Per Defendant’s instruction, on the morning of December 7, 2017, Plaintiffs

requested that the Defendant initiate a wire recall request, after the Bank of China received the

fraudulent wire funds. Id. ¶ 24.

         216.   In derogation of the clear requirements of 13 Pa.C.S. § 4A211(e), Defendant Bank

enforced OBS’s “obligation” on the cancelled wire transfer request.

         217.   In further derogation of the clear requirements of 13 Pa.C.S. § 4A211(e),

Defendant failed and refused to refund the $580,000 Defendant Bank unlawfully and without

authorization swept from OBS’s IOLTA, and its IOLTA Sub-Accounts thereof, in furtherance of

Defendant’s wrongful enforcement of OBS’s “obligation” on the cancelled wire transfer request.

         218.   As a result of Defendant’s violation of 13 Pa.C.S. § 4A211(e), Plaintiffs have

suffered actual damages.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for breach of 13 Pa.C.S.                   § 4A211(e), and award

Plaintiffs damages in an amount to be determined at trial, together with such other relief as the

Court deems just and appropriate.

                                           Count VII
                               Violation of 12 CFR § 205.17(d)(5)

         219.   The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         220.   UCC §4A as adopted by the Commonwealth of Pennsylvania, which binds

Defendant Bank, is superseded by Federal Reserve regulations and operating circulars, which

also bind Defendant Bank. See 13 Pa.C.S. § 4A107 (“Regulations of the Board of Governors of

the Federal Reserve System and operating circulars of the Federal Reserve banks supersede any

inconsistent provision of this division to the extent of the inconsistency.”).

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         221.   12 CFR § 205.17(d)(5) states that “[i]f the institution offers . . . a service that

transfers funds from another account of the consumer held at the institution to cover overdrafts,

the institution must state that fact.”

         222.   Without authorization from Plaintiffs, and in breach of the terms of Section 3 of

the Escrow Control Account Agreement, Defendant Bank swept other IOLTA Sub-Accounts of

the IOLTA in order to fund the fraudulent wire transfer to Cochen from the Eagle Funding Sub-

Account which only contained $1,900, in spite of the fact that the wire transfer was validly

cancelled by the Plaintiffs.

         223.   Defendant’s act of sweeping IOLTA Sub-Accounts also violates 12 CFR §

205.17(d)(5), insofar as Defendant never stated to Plaintiffs that it offered such a “service that

transfers funds from another account of the consumer held at the institution to cover overdrafts . .

.” as required by law.

         224.   Neither the Escrow Account Control Agreement nor the Deposit Agreement and

Disclosures nor the Telephone Wire Transfer Agreement discloses to Plaintiffs that Defendant

Bank will sweep any IOLTA Sub-Accounts if one sub-account is overdrawn. See Ex. 1, 3 & 20.

         225.   As a result of Defendant’s violation of 12 CFR § 205.17(d)(5) Plaintiffs have

suffered actual damages.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for violation of 12 CFR § 205.17(d)(5) and award Plaintiffs

damages in an amount to be determined at trial, together with such other relief as the Court

deems just and appropriate.




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                                          Count VIII
                                        Negligence Per Se

         226.   The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         227.   Negligence per se may be demonstrated by proof that a defendant has violated a

law or regulation whose purpose is found to be, at least in part (a) to protect a class of persons

which includes the one whose interest is invaded, (b) to protect the particular interest which is

invaded, (c) to protect that interest against the kind of harm that has resulted, and (d) to protect

that interest against the particular hazard from which the harm results. O’Neal v. Department of

the Army, 852 F. Supp. 327, 335 (M.D.Pa. 1994) (citing Centolanza v. Lehigh Valley Dairies,

430 Pa. Super. 463, 635 A.2d 143, 149-50 (Pa. Super. 1993)).

         228.   Each and any of the laws and/or regulations blatantly disregarded and/or breached

by Defendant Bank as pled in this Complaint constitute negligence per se, and the collective

violation of said laws and/or regulations also constitutes negligence per se.

         229.   As a result of Defendant’s negligence per se, Plaintiffs have suffered actual

damages.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for negligence per se, and award Plaintiffs damages in an

amount to be determined at trial, together with such other relief as the Court deems just and

appropriate.




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                                              Count IX
                                              Negligence

         230.     The allegations of the previous paragraphs are incorporated as though fully set

forth herein.

         231.     Under Pennsylvania law, “in order to prevail in a negligence action under

common law, the plaintiff must establish that: (1) the defendant owed a duty of care to the

plaintiff; (2) that duty was breached; (3) the breach resulted in the plaintiff's injury; and (4) the

plaintiff suffered an actual loss or damages.” Moon v. Dauphin Cnty., 129 A.3d 16, 21 (Pa.

Cmwlth. 2015)(citing Brown v. Dep't of Transp., 11 A.3d 1054, 1056 (Pa. Cmwlth. 2011)).

         232.     Pennsylvania courts have determined that the duty of care owed by a bank to its

customer when charging the customer’s account is set forth in 13 Pa.C.S. § 4401(a)-(b) as

follows:

         (a)    General rule. — A bank may charge against the account of a customer an
                item that is properly payable from that account even though the charge
                creates an overdraft. An item is properly payable if it is authorized by the
                customer and is in accordance with any agreement between the customer
                and the bank.

         (b)    Limitation on customer liability. — A customer is not liable for the amount
                of an overdraft if the customer neither signed the item nor benefited from the
                proceeds of the item.

         233.     This duty of care supersedes any duty set forth in the contract between bank and

customer, and “the parties to the agreement cannot disclaim the responsibility of a bank for its

lack of good faith or failure to exercise ordinary care or limit the measure of damages for the

lack or failure.” 13 Pa.C.S. § 4103(a).

         234.     In this case, Defendant breached its duty of good faith and committed actions

and/or inactions which constitute negligence by failing to exercise ordinary care in the execution

of Staffin’s cancellation/stop payment request with respect to the fraudulent wire transfer order.

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         235.   Defendant further breached its duty of care to Plaintiffs by sweeping OBS’s

IOLTA Sub-Accounts in an unauthorized effort to satisfy an overdraft wrongfully made, in

blatant derogation of 13 Pa.C.S. § 4401(b).

         236.   As a result of Defendant’s breach, Plaintiffs were injured in the amount of

$580,000 which Bragg and Staffin personally paid to replenish the IOLTA, plus substantial

additional funds in excess of $20,000 which OBS paid to fund the Hong Kong litigation against

Cochen.

         WHEREFORE Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and against Defendant for negligence, and award Plaintiffs damages in an amount to

be determined at trial, together with such other relief as the Court deems just and appropriate.

                                              SILVERANG, DONOHOE,
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